      Case 7:19-cv-00200 Document 34 Filed on 07/08/21 in TXSD Page 1 of 3
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        July 08, 2021
                      UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                           MCALLEN DIVISION

UNITED STATES OF AMERICA,         §
                                  §
VS.                               § CIVIL ACTION NO. 7:19-CV-200
                                  §
11.35 ACRES OF LAND, MORE OR      §
LESS, SITUATE IN STARR COUNTY, et §
al,                               §
                                  §
       Defendants.                §




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                  Case 7:19-cv-00200 Document 34 Filed on 07/08/21 in TXSD Page 3 of 3




                   SO ORDERED this 8th day of July, 2021, at McAllen, Texas.


                                                     ___________________________________
                                                     Randy Crane
                                                     United States District Judge




            3/3
Kathy Nguyen
 7/8/2021
